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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF GEORGIA
                                   MACON DIVISION

SASHA BYRD, as next friend of a                 *
minor child, and JANICE WHITMORE,
                                                *
                     Plaintiffs,                    Case No. 5:21-cv-00293-TES
v.                                              *

WARDEN ANNETTIA TOBY, et al.,                   *

             Defendants.                        *
___________________________________

                                     JUDGMENT

       Pursuant to this Court’s Order dated November 2, 2021, and for the reasons stated

therein, JUDGMENT is hereby entered dismissing this case.

       This 3rd day of November, 2021.

                                          David W. Bunt, Clerk


                                          s/ Tydra Miller, Deputy Clerk
